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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    GREGORY BERNARD LACY,                       Case No. 5:19-cv-00583-DDP (KES)
  12                          Petitioner,
  13                                                           JUDGMENT
              v.
  14    J. A. LIZARRAGA, Warden,
  15                          Respondent.
  16
  17         Pursuant to the Court’s Order Accepting Findings and Recommendations of
  18   the United States Magistrate Judge,
  19         IT IS ADJUDGED that (1) the Petition is GRANTED and (2) this matter is
  20   remanded to the Superior Court of Riverside County for retrial in a manner consistent
  21   with the Order Accepting the Magistrate Judge’s Report and Recommendation.
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  23   DATED: October 26, 2021
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  25                                         ____________________________________
                                             Dean D. Pregerson
  26                                         UNITED STATES DISTRICT JUDGE
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